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            IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF NEW YORK
__________________________________

UNITED STATES OF AMERICA

            vs.                                 Criminal Action No.
                                                5:08-CR-298 (FJS)
JASON REED,

                  Defendant.
__________________________________

JOHN M. KATKO, Asst. U.S. Attorney, for the Government

JOHN D. KINSELLA, ESQ., for the Defendant

ORDER APPROVING WAIVER OF APPEARANCE FOR ARRAIGNMENT

      Defendant has been charged by indictment with knowingly

possessing with intent to distribute cocaine base (“crack”) in violation of

21 U.S.C. § 841(b)(1)(B) and 21 U.S.C § 846. Defendant and

defendant’s counsel, John D. Kinsella, Esq., have completed a written

waiver of arraignment form advising the court that Jason Reed wishes to

waive his right to a formal arraignment on the pending indictment,

pursuant to Rule 10 of the Federal Rules of Criminal Procedure, as

amended.

      Based upon the defendant’s voluntary representations, as confirmed

by his attorney, and the understanding that Mr. Kinsella has explained the

consequences of the waiver of arraignment to his client, I accept his
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waiver as knowing and voluntary. Accordingly, it is hereby

      ORDERED that the clerk is directed to enter a plea of not guilty to

Indictment No. 5:08-CR-298 (FJS), dated June 4, 2008, on behalf of the

defendant, Jason Reed, such plea to be docketed as having been entered

on the date of the signing of this order.



Dated: June 11, 2008




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